

After Remand from the Alabama Supreme Court

PITTMAN, Judge.
The Alabama Supreme Court has reversed this court’s October 12, 2001, affirmance, without opinion, of the trial court’s judgment, and has remanded the case. Ex parte Hurricane Freddy’s, Inc., 861 So.2d 1075 (Ala.2002). In compliance with the Alabama Supreme Court’s opinion, the judgment of the trial court is reversed and the cause is remanded for further proceedings consistent with the Supreme Court’s opinion.
REVERSED AND REMANDED.
*1080YATES, P.J., and CRAWLEY, THOMPSON, and MURDOCK, JJ., concur.
